Case 1:01-cv-12257-PBS Document 3808-4 Filed 02/23/07 Page 1 of 3

EXHIBIT B
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Lof9

United States District Court
District of Nevada (Reno)
CIVIL DOCKET FOR CASE #: 3:05-cv-00322-HDM-RAM

State of Nevada Ex Rel H. Dean Steinke VS Merck & Co., Date Filed: 05/26/2005

Inc. Jury Demand: Defendant

Assigned to: Judge Howard D. McKibben Nature of Suit: 370 Fraud or
Referred to: Magistrate Judge Robert A. McQuaid, Jr Truth-In-Lending

Cause: 28:1331 Fed. Question Jurisdiction: Diversity

Date Filed # Docket Text

02/22/2007 86, STATUS REPORT by Defendant Merck & Company, Inc.. (Peterson,

William) (Entered: 02/22/2007)

12/20/2006 85 | ORDER denying without prejudice should parties be unable to reach
settlement re 68 MOTION to Reconsider District Judge Order re 55 Order
on Motion to Dismiss Plaintiffs' First Amended Complaint filed by Merck
& Company, Inc. Signed by Judge Howard D. McKibben on 12/20/06.
(LG) (Entered: 12/21/2006)

12/19/2006 84 | STATUS REPORT by Defendant Merck & Company, Inc.. (Peterson,
William) (Entered: 12/19/2006)

10/19/2006 83 1 ORDER ON STIPULATION te 82 Stipulation; the parties agree to a stay
of all proceedings in this litigation, including discovery, the parties have
agreed to this stay to facilitate ongoing sttlmmnt discussions to resolve all
issues in this litigation; the parties will provide the crt with a stat rpt on
stthmnt discussions w/in 60dys, see ord for spec. Signed by Judge Howard
D. McKibben on 10/19/06. JAR, ) (Entered: 10/23/2006)

10/18/2006 82 | STIPULATION Parties’ Joint Stipulation for a Stay by Defendant Merck
& Company, Inc.. (Peterson, William) (Entered: 10/18/2006)

10/05/2006 81 | NOTICE by Defendant Merck & Company, Inc. of Letter to The
Honorable Howard D. McKibben dated October 5, 2006 (Peterson,
William) (Entered: 10/05/2006)

10/03/2006 80 REPLY to Response to 68 MOTION to Reconsider District Judge Order
re 55 Order on Motion to Dismiss Plaintiffs' First Amended Complaint;
filed by Defendant Merck & Company, Inc.. Reply Memorandum of
Points and Authorities in Support of Defendant's Motion for
Reconsideration of the Court's Order Denying Defendnat's Motion to
Dismiss Plaintiffs’ Amended Complaint (Peterson, William) (Entered:
10/05/2006)

10/02/2006 79 | NOTICE The jury trial set for 9/25/2007 [69] is vacated and shall be reset
upon submission of the proposed joint pretrial order [LR 16-4]. (BS, )

2/23/2007 5:05 PN
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Complaint. Signed by Judge Howard D. McKibben on 7/19/06. (SA, )
(Entered: 07/20/2006)

07/19/2006

STIPULATION te 57 MOTION to Certify For Interlocutory Appeal the
Court's Order Denying Defendant's Motion to Dismiss Plaintiffs’ First
Amended Complaint; for Extension of Time to File Opposition to Motion
to Certify by Defendant Merck & Company, Inc.. (Peterson, William)
(Entered: 07/19/2006)

07/05/2006

MEMORANDOM filed by Defendant Merck & Company, Inc. re 57
MOTION to Certify For Interlocutory Appeal the Court's Order Denying
Defendant's Motion to Dismiss Plaintiffs’ First Amended Complaint.
(Peterson, William) (Entered: 07/05/2006)

07/05/2006

MOTION to Certify For Interlocutory Appeal the Court's Order Denying
Defendant's Motion to Dismiss Plaintiffs’ First Amended Complaint by
Defendant Merck & Company, Inc.. Responses due by 7/23/2006.
(Peterson, William) (Entered: 07/05/2006)

06/23/2006

ANSWER to 33 Amended Complaint by Defendant Merck & Company,
Inc..(Prupas, Janine) (Entered: 06/23/2006)

05/31/2006

ORDER tht D's Mtn to Dismiss P's Am Complint doc #34 be DENIED.
Signed by Judge Howard D. McKibben on 5/31/06. (SA, ) (Entered:
05/3 1/2006)

04/24/2006

RESPONSE to 40 MOTION for leave to participate as amici curiae, by
the States of California, Delaware, Hlinois, and Texas and the District of
Columbia filed by Defendant Merck & Company, Inc.. (Peterson,
William) (Entered: 04/24/2006)

04/24/2006

ORDER re 52 Unopposed MOTION for Leave to File: Motion 32 is
granted. Ds shall have till 5/10/2006 to file a response to the Amicus
Curiae Brief by States of California, Deleware, Illinois, and Texas and the
District of Columbia. Signed by Judge Howard D. McKibben on 4/24/06.
(WJ, ) (Entered: 04/24/2006)

04/21/2006

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Unopposed MOTION for Leave to File a Response to the Amicus Curtae
Brief by the States of California, Delaware, Illinois, and Texas and the
District of Columbia by Defendant Merck & Company, Inc.. (Peterson,
William) (Entered: 04/21/2006)

04/03/2006

NOTICE of Change of Address by Mark A Kleiman. (Kleiman, Mark)
(Entered: 04/03/2006)

03/27/2006

ORDER granting 40 Motion amici curiae, see ord for spec Signed by
Judge Howard D. McKibben on 3/27/06. JAR, ) (Entered: 03/27/2006)

03/27/2006

REPLY to Response to 34 MOTION to Dismiss Plaintiff's Amended
Complaint (Oral Argument Requested), filed by Defendant Merck &
Company, Inc.. (Peterson, William) (Entered: 03/27/2006)

2/23/2007 3:05 PM

